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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO

THETIUS WESTFIELD,                  }              Civil Action 1:12-cv-807
                                    }
      Plaintiff,                    }              JUDGE: CHRISTOPHER BOYKO
                                    }
      v.                            }
                                    }
BUDZIK & DYNIA, LLC,                }
                                    }
      Defendant.                    }
____________________________________/



                    ORDER DISMISSING CASE WITH PREJUDICE

       THIS CAUSE having come before the Court on the Plaintiff’s Notice of Voluntary

Dismissal With Prejudice, it is hereby ORDERED that this case is dismissed with prejudice.

                 12th
SO ORDERED THIS _____ day of June, 2012.



                                                   s/ Christopher A. Boyko
                                                   ________________________________
                                                   Judge Christopher Boyko
                                                    United States District Judge
